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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,               )
                                        )
                    Plaintiff,          )            4:08CR3173
                                        )
          v.                            )
                                        )
                                        )
JOHN S. CISNEROS,                       )
                                        )
                    Defendant.          )    MEMORANDUM AND ORDER
                                        )

     A hearing was held before me April 3, 2009 on allegations made in
the petition for action on conditions of pretrial release.         The
defendant was present with counsel, and was advised of his rights. The
defendant admitted the allegations in the petition. I therefore find
that the allegations of the petition are true.

     Regarding disposition, the government sought detention.       The
defendant urged a placement in the Second Chance Halfway House. Upon
consideration of the matter, I conclude that detention is appropriate.
Accordingly,

     IT THEREFORE HEREBY IS ORDERED:
     1. The previous order releasing the defendant on conditions, filing
25, as amended, is revoked. Defendant shall be detained until further
order.
     DATED April 3, 2009
                                   BY THE COURT:



                                     s/ David L. Piester
                                   United States Magistrate Judge
